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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                                 CASE NO. 14-24887-MC-SEITZ/LOUIS

  IN RE APPLICATION OF
  HORNBEAM CORPORATION

  REQUEST FOR DISCOVERY PURSUANT
  TO 28 U.S.C. § 1782
  _____________________________________

      APPLICANT HORNBEAM CORPORATION'S MOTION TO FILE DEPOSITION
                       TRANSCRIPTS UNDER SEAL
          Applicant Hornbeam Corporation (“Hornbeam”), by undersigned counsel and pursuant to

  S.D. Fla. Rule 5.4(b)(1), submits this Motion to File Under Seal and, in support, states:

          1.      Hornbeam seeks an order permitting it to file under seal the October 23, 2018,

  October 24, 2018, and October 25, 2018 deposition transcripts of CC Metals and Alloys, LLC,

  Felman Production, LLC, Felman Trading, Inc., Georgian American Alloys, Inc., Mordechai

  Korf, Optima Acquisitions, LLC, Optima Group, LLC, Optima Fixed Income, LLC, Optima

  Ventures, LLC, Optima International of Miami, Inc., and 5251 36ST, LLC (“Subpoena

  Respondents”) 1, which are to be attached as exhibits to Applicant Hornbeam Corporation’s

  Motion to Remove the Attorneys’ Eyes Only Designation from the Transcripts of the

  Depositions of Subpoena Respondents (to be filed on November 30, 2018 pursuant to the Court’s

  Paperless Order of November 9, 2018 (ECF No. 295)).

          2.      Hornbeam seeks to file the deposition transcripts under seal pursuant to the

  language in the Stipulated Protective Order which states that: “In the event that a party wishes to

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   The depositions of Felman Production, LLC, Felman Trading, Inc., CC Metals and Alloys, LLC, Optima Group,
  LLC, and Georgian American Alloys, Inc. were held on October 23, 2018. The depositions of 5251 36ST, LLC,
  Optima Fixed Income, LLC, Optima Ventures, LLC, Optima International of Miami, Inc., and Optima Acquisitions,
  LLC were held on October 24, 2018. The deposition of Mordechai Korf in his personal capacity was held on
  October 25, 2018.
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  use information designated as Confidential or Attorneys’ Eyes Only in any document in a

  Permitted Litigation, such party shall apply to the court for permission to file a document

  containing information as Confidential or Attorneys’ Eyes Only under seal, or by the foreign

  equivalent of non-public filing, and shall comply with the relevant rules concerning the filing of

  sealed or non-public documents, unless otherwise directed by the court.” ECF No. 224.

          3.         While Hornbeam is contesting the amount of material designated as Attorneys’

  Eyes Only by Subpoena Respondents, Hornbeam requests that the deposition transcripts be

  maintained under seal pursuant to the Stipulated Protective Order until the court decides this

  motion, at which time the court, in consultation with the parties, can set a seal termination date if

  appropriate. There is no less restrictive measure available to protect these interests and the

  degree, duration, and manner of confidentiality sought is no broader than necessary to protect

  these interests.

          4.         We have consulted with counsel for the Subpoena Respondents, Mr. Guttman,

  and lead counsel for Panikos Symeou and Halliwel Assets Ltd. (“Intervenors”), Mr. Marks, and

  they agree with the relief requested in this motion.

          WHEREFORE, Hornbeam respectfully requests that the court enter an order, directing

  the clerk of court to file under seal the October 23, 2018, October 24, 2018, and October 25,

  2018 deposition transcripts, to be attached as exhibits to Applicant Hornbeam Corporation’s

  Motion to Remove the Attorneys’ Eyes Only Designation from the Transcripts of the

  Depositions of the Subpoena Respondents, and entering any further relief this court deems just

  and proper.




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  Date: November 29, 2018            Respectfully submitted

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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 29, 2018, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record via transmission of Notices of Electronic Filing

  generated by CM/ECF.

                                               By: /s/ Jane Moscowitz__
                                                    Jane W. Moscowitz




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           CERTIFICATE OF CONFERENCE PURSUANT TO S.D. FLA. L.R. 7.1

         I HEREBY CERTIFY that Carol Elder Bruce, counsel for Applicant Hornbeam

  Corporation, met and conferred with Bruce Marks, counsel for Intervenors, and Jorge Guttman,

  counsel for Subpoena Respondents, regarding the substance and relief sought by this Motion,

  and all parties are in agreement with the relief sought.


                                                By:     /s/ Carol Elder Bruce
                                                        Carol Bruce




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